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Attorney for Plaintiff,
D.A.B., Minor, by and through his
Guardian Ad Litem, Tiffany Snell

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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ID.A.B,, a minor, by and through his Case Number: (\/ /(U- S¢“ /
12 |Guardian Ad Litem, Tiffany Snell,

‘individually and as successor in
13;jinterest to Rashawn Brown, deceased,

 

 

it COMPLAINT FOR DAMAGES
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™~ TEOUNTY OF LOS ANGELES ; 2. Unreasonable Search and Seizure —
17 COUNG THROUGH 10, yO Excessive Force (42. U.S.C. §1983)
INCLUSIVE 3. Unreasonable Search and Seizure —
18 ° Denial of Medical Care (42 U.S.C.
$1983)
19 Defendants. 4. Substantive Due Process — (42
20 ULS.C. §1983)
5. Municipal Liability for
4 Unconstitutional Custom, Practice
or Policy — (42 U.S.C. §1983)
22 6. False Arrest/False Imprisonment
7. Battery (Wrongful Death)
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35 DEMAND FOR JURY TRIAL
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COMPLAINT FOR DAMAGES
Come now Plaintiffs D.B.A., a minor, by and through his Guardian Ad

Litem, Tiffany Snell, individually and as successor in interest to Rawshawn Brown,

deceased, and alleges as follows:

I.

INTRODUCTION
This civil rights and state tort action seeks compensatory and punitive
damages from Defendants for violating various rights under the United
States Constitution and state law in connection with the fatal police shooting
of Plaintiff's father Rashawn Brown (“Decedent”), on May 23, 2013.
Defendants DOES 1-5 (“DOE DEPUTIES”) proximately caused Decedent’s
and Plaintiffs injuries by firing the shots that killed Decedent by integrally
participating or failing to intervene in the shooting, and by engaging in other
acts and/or omissions around the time of the shooting that resulted in his
death. Defendants DOE DEPUTIES are directly liable for Plaintiff's injuries
under federal law pursuant to 42 U.S.C. §1983.
Defendants COUNTY OF LOS ANGELES (“COUNTY”) and DOES 6-10
also proximately caused Decedent’s and Plaintiff's injuries and are liable
under state and federal law and under principles set forth in Monell v.
Department of Social Services, 436 U.S. 658 (1978).
The policies and customs behind the shootings of civilians such as
Rawshawn Brown are fundamentally unconstitutional and constitute a
menace of major proportions to the public. Accordingly, insofar as Plaintiff
herein seeks by means of this civil rights action to hold accountable those
responsible for the killing of Rawshawn Brown and to challenge the
COUNTY’S unconstitutional policies and practices, this civil rights action is

firmly in the public interest.

 
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PARTIES
At all relevant times, Rawshawn Brown ("decedent") was an individual
residing in the County of Los Angeles, California.
Plaintiff D.A.B. is a minor, and is decedent's natural child and successor in
interest pursuant to California Code of Civil Procedure § 377.32. Tiffany
Snell is the natural mother and guardian ad litem of the minor. D.B.A. and
Tiffany Snell reside in the County of Los Angeles.
Defendant COUNTY OF LOS ANGELES, hereafter “COUNTY,” is a
municipal corporation under the laws of the State of California, with the
capacity to sue and be sued. Defendant COUNTY is responsible for the
actions, omissions, policies, procedures, practices and customs of its various
agents and agencies. The Los Angeles County Sheriff's Department
(“LASD”) is a subdivision of the County of Los Angeles.
Defendant DOE DEPUTIES are Sheriffs deputies working for the LASD.
Defendant DOE DEPUTIES shot and killed Rawshawn Brown. At all times
relevant hereto, said defendants were acting in the course and scope of their
employment as a Sheriff's deputy with the LASD. Likewise, at all times
relevant, said defendants were acting under the color of law; i.e., under the
authority of the statutes and regulations of the State of California and the
County of Los Angeles, and with the complete authority and ratification of
their principal, Defendant COUNTY. At all times relevant hereto, they were
also acting on the implied and actual permission and consent of COUNTY.
Defendants 6-8 are supervisorial officers for the LASD who were acting
under color of law within the course and scope of their duties as sheriff's
deputies for the LASD. DOES 6-8 were acting with the complete authority
and ratification of their principal, Defendant COUNTY.

 
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Defendants 9-10 are managerial, supervisorial, and policymaking employees
of the Los Angeles Sheriff's Department, who were acting under color of law
within the course and scope of their duties as managerial, supervisorial, and
policymaking employees for the LASD. DOES 9-10 were acting with the
complete authority and ratification of their principal, Defendant COUNTY.
On information and belief, DOES 1-10 were residents of the County of Los
Angeles.

The true names of defendants DOES 1| through 10, inclusive, are unknown to
Plaintiffs, who therefore sues these defendants by such fictitious names.
Plaintiffs will seek leave to amend this complaint to show the true names and
capacities of these defendants when they have been ascertained. Each of the
fictitious named defendants is responsible in some manner for the conduct
and liabilities alleged herein.

Each of the Defendants caused and is responsible for the unlawful conduct
and resulting by, inter alia, personally participating in the conduct, or acting
jointly and in concert with others who did so; by authorizing, acquiescing or
failing to take action to prevent the unlawful conduct; by promulgating
policies and procedures pursuant to which the unlawful conduct occurred; by
failing and refusing, with deliberate indifference to Plaintiff and Rawshawn
Brown’s rights, to initiate and maintain adequate supervision and/or training;
and, by ratifying the unlawful conduct that occurred by agents and peace
officers under their direction and control. Whenever and wherever reference
is made in this Complaint to any act by a Defendant, such allegation and
reference shall also be deemed to mean the acts and failures to act of each
Defendant individually, jointly and severally. They are sued in their
individual and official capacities and in some manner are responsible for the
acts and omissions alleged herein. Plaintiffs will ask leave of this Court to

amend this Complaint to allege such name and responsibility when that

 
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information is ascertained. Each of Defendants is the agent of the other.
TL.

JURISDICTION AND VENUE
This civil action is brought for the redress of alleged deprivations of
constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988,
the Fourth and Fourteenth Amendments of the United States Constitution,
and the California Constitution. Jurisdiction is founded on 28 U.S.C. §§
1331, 1343, and 1367.
Venue is proper in this Court under 28 U.S.C. § 1391(b), because defendants
reside in, and all incidents, events, and occurrences giving rise to this action
occurred in, the County of Los Angeles, California.
Each Plaintiff herein timely and properly filed tort claims pursuant to Cal.
Gov. Code § 910 et seq., and this action is timely filed within all applicable
statutes of limitation.

Iv.
FACTS COMMON TO ALL CLAIMS FOR RELIEF

Plaintiff repeats and re-alleges each and every allegation, made above, with
the same force and effect as if fully set forth herein.
Rashawn Brown was 28 years old at the time of his death. He sustained
injuries, including but not limited to pain and suffering, loss of enjoyment of
life, and death when he was shot by DOE DEPUTIES, on-duty sheriff's
deputies for the LASD who were acting under color of law and as employees
of the LASD, Defendants DOES 1-10, inclusive, integrally participated in or
failed to intervene in the shooting.
On May 23, 2013, at approximately 7:30 p.m., Defendant DOE DEPUTIES
observed Decedent driving away from the intersection of North Bradfield
and San Luis Street, in the City of Compton and Count of Los Angeles.
DOE DEPUTIES pursued Decedent’s vehicle in at least one marked patrol

 
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vehicle until the street reached a dead end. Decedent exited his vehicle and
DOE DEPUTIES pursued Decedent on foot. As Decedent was running
away, DOE DEPUTIES shot Decedent multiple times in the back.
Upon information and belief, after being shot, Decedent was immobile,
bleeding profusely, and in obvious and critical need of emergency medical
care and treatment. Defendants did not timely summon medical care or
permit medical personnel to treat Decedent. The delay of medical care to
Decedent caused Decedent extreme physical and emotional pain and
suffering, and was a contributing cause of Decedent’s death.
The use of deadly force against Decedent was excessive and objectively
unreasonable under the circumstances, especially because Decedent did not
pose an immediate threat of death or serious bodily injury to anyone at the
time of the shooting.
Plaintiff D.A.B. was dependent on Decedent, including financially
dependent.
Plaintiff D.A.B. is Decedent’s successor in interest as defined by Section
377.1 of the California Code of Civil Procedure and succeed to Decedent’s
interest in this action as the biological child of Decedent.
V.
FIRST COUNT/CAUSE OF ACTION

Unreasonable Search and Seizure — Detention and Arrest (42 U.S.C. §1983)

(Against Defendants DOE DEPUTIES)
Plaintiff repeats and realleges each and every allegation above as though
fully set forth herein.
When Defendants DOE DEPUTIES shot Decedent in the back and placed
him in handcuffs, they violated Decedent’s right to be secure in his person
against unreasonable searches and seizures as guaranteed to the Decedent

under the Fourth Amendment to the United States Constitution and applied

 
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to state actors b the Fourteenth Amendment.
Defendants DOE DEPUTIES detained Decedent without reasonable
suspicion and arrested him without probable cause.
The conduct of Defendants DOE DEPUTIES was willful, wanton, malicious,
and done with reckless disregard for the rights and safety of Decedent and
therefore warrants the imposition of exemplary and punitive damages to
Defendants DOE DEPUTIES.
As a result of their misconduct, Defendants DOE DEPUTIES are liable for
Decedent’s injuries, either because they were integral participants in the
wrongful detention and arrest, or because they failed to intervene to prevent
these violations.
D.A.B. brings this claim in each case as successor-in-interest to the
Decedent, and in each case seek both survival and wrongful death damages
for the violation of Decedent’s rights.
Plaintiff also seeks attorney fees under this claim.
VI.
SECOND COUNT/CAUSE OF ACTION
Violation of Constitutional Right to Be Free from
Unreasonable and Excessive Force
(Against Defendants DOE DEPUTIES)
Plaintiff repeats and realleges each and every allegation above as though
fully set forth herein.
This action is brought pursuant to 42 U.S.C. §1983, and the Fourth
Amendment of the United States Constitution.
On or before and on May 23, 2013, Rashawn Brown possessed the right,
guaranteed by the Fourth and Fourteenth Amendments of the United States
Constitution, to be free from unreasonable seizures and excessive force by

Sheriffs deputies acting under the color of law.

 
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11434. Defendants DOE DEPUTIES, without just and legal cause, drew their

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service firearms and fired shots at Rashawn Brown, thereby striking him

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and, resulting in severe injuries to him causing him permanent injury, severe

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physical pain, severe psychological trauma, and his eventual death, and

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thereby violated his rights under the laws and Constitution of the United
States, in particular the Fourth Amendment of the United States Constitution.
35. Atthe time of the shooting Rashawn Brown was not engaged in any

assaultive behavior toward the defendant deputies or any other person or

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persons.

10 36. The shooting by said defendant was entirely not justified by any actions of

ll Rashawn Brown and the shooting of Rashawn Brown constituted an

12 unreasonable and excessive use of force.

13 37. Defendants DOE DEPUTIES acted specifically with the intent to deprive

14 Rashawn Brown of his rights under the Fourth and Fourteenth Amendments
15 of the Constitution.

16 38. Said defendants subjected Rashawn Brown to the aforementioned

17 deprivations by either actual malice, deliberate indifference or a reckless

18 disregard of his rights.

19 39. Said defendants acted at all times herein knowing full well that the

20 established practices, customs, procedures and policies of the LOS

21 ANGELES COUNTY Sheriff's department would allow a cover-up and

22 allow the continued use of illegal force in violation of the Fourth

23 Amendment of the Constitution of the United States and the laws of the State
24 of California.

25 40. The aforementioned acts of DOE DEPUTIES, were willful, wanton,

26 malicious and oppressive thereby justifying the awarding of exemplary and
27 punitive damages as to said defendants.
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Plaintiff claims funeral and burial expenses and a loss of financial support.
Plaintiff also seeks attorney fees under this claim.
VIL.
THIRD COUNT/CAUSE OF ACTION

Unreasonable Search and Seizure — Denial of Medical Care (42 U.S.C. §1983)

(Against Defendants DOE DEPUTIES)
Plaintiff repeats and realleges each and every allegation above as though
fully set forth herein.
The denial of medical care by Defendants DOE DEPUTIES deprived
Decedent of this right to be secure of his person against unreasonable
searches and seizures as guaranteed to Decedent under the Fourth
Amendment to the United States Constitution and applied to state actors by
the Fourteenth Amendment.
As a result, Decedent suffered extreme pain and suffering and eventually
suffered a loss of life and earning capacity. Plaintiffs have also been
deprived of the life-long love, companionship, comfort, support, society,
care and sustenance of Decedent, and will continue to be so deprived for the
remainder of their natural lives. Plaintiff is also claiming funeral and burial
expenses and a loss of financial support.
Defendants DOE DEPUTIES knew that failure to provide timely medical
treatment to Decedent could result in further significant injury or the
unnecessary and wanton infliction of pain, but disregarded that serious
medical need, causing Decedent great bodily harm and death.
The conduct of DOE DEPUTIES was willful, wanton, malicious, and done
wth reckless disregard for the rights and safety of Decedent and therefore

warrants the imposition of exemplary and punitive damages as to Defendants
DOE DEPUTIES.

 
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As aresult of their misconduct, Defendants DOE DEPUTIES are liable for
Decedent’s injuries, either because they are integral participants in the
wrongful detention and arrest, or because they failed to intervene to prevent
these violations.
Plaintiff D.A.B. brings this claim as a successor-in-interest to Decedent and
seeks both survival and wrongful death damages for the violation of
Decedent’s rights.
Plaintiff also seeks attorney fees under this claim.
Vill.
FOURTH COUNT/CAUSE OF ACTION
Substantive Due Process (42 U.S.C. § 1983)
(Against DOE DEPUTIES)
Plaintiff repeats and re-alleges each and every allegation in each paragraph
of this Complaint with the same force and effect as if fully set forth herein.
Plaintiff, the child of Rashawn Brown, had a cognizable interest under the
Due Process Clause of the Fourteenth Amendment of the United States
Constitution in being free from state actions that deprive them of life, liberty,
or property in such a manner as to shock the conscience, including but not
limited to, unwarranted state interference with Plaintiffs right to a familial
relationship with their natural father, Rashawn Brown.
Defendants DOE DEPUTIES, acting under color of state law, wrongfully
shot and killed Rashawn Brown and thus violated the Fourteenth
Amendment rights of Plaintiff to be free from unwarranted interference with
their familial relationship with Rashawn Brown.
The aforementioned actions of Defendants DOE DEPUTIES, along with
other undiscovered conduct, shocks the conscience, in that they acted with
deliberate indifference to the constitutional rights of Rashawn Brown and

Plaintiffs, and with purpose to harm unrelated to any legitimate law

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enforcement objective.
As a direct and proximate cause of the acts of Defendants DOE DEPUTIES,
inclusive, Rashawn Brown was wrongfully killed and as a result his children,
the present plaintiff, suffered extreme and severe mental anguish and pain
and have been injured in mind and body. Plaintiff has also been deprived of
the life-long love, companionship, comfort, support, society, care and
sustenance of Rashawn Brown, and will continue to be so deprived for the
remainder of his natural life. Plaintiff also lost the financial support
provided to him by his father, Rashawn Brown.
The conduct of Defendants DOE DEPUTIES, inclusive was willful, wanton,
malicious, and done with reckless disregard for the rights and safety of
Rashawn Brown and Plaintiffs and therefore warrants the imposition of
exemplary and punitive damages as to defendants DOE DEPUTIES.
Plaintiff also seeks attorney fees under this claim.
IX.
FIFTH COUNT/CAUSE OF ACTION
Municipal Liability for Violation Of Constitutional Rights
(As to Defendant County of Los Angeles and DOES 6-10)
Plaintiff repeats and realleges each and every of the foregoing allegations
above as though fully set forth herein.
On or about May 23, 2013, Defendants DOE DEPUTIES acting within the
course and scope of their duties as deputies, employees, and representatives
of the COUNTY OF LOS ANGELES and the LASD, deprived Rashawn
Brown of his right to be free from unreasonable seizure and excessive force,
when said defendants unreasonably and without justification shot and killed
Rashawn Brown as delineated in the above causes of action.
At the time of the shooting of by said defendants, defendants COUNTY OF
LOS ANGELES and DOES 6 through 10 had in place, and had ratified

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customs and practices which permitted and encouraged their Sheriffs
deputies while on duty to unjustifiably, unreasonably and in violation of the
Fourth Amendment, shoot persons without cause. This custom and practice
has its genesis in the training that Sheriffs deputies are provided with
serving their mandatory stint in the Sheriff's Department jails. While in this
assignment, LASD deputies are taught and exposed to the flagrant use of
excessive force against inmates and they quickly learn that such misconduct
is tolerated and covered up by LASD supervisors. This has been proven
recently when a large number of LASD deputies were arrested by federal
authorities for such misconduct.

Said customs and practices also called for defendants COUNTY OF LOS
ANGELES and DOES 6 through 10 not to discipline, prosecute or in any
way deal with or respond to known incidents, complaints, of wrongful
shootings by said deputies of the COUNTY OF LOS ANGELES Sheriffs
Department, or the related claims and lawsuits made as a result of such
shootings.

Said customs and practices called for the refusal of defendants COUNTY OF
LOS ANGELES and DOES 6 through 10, and their agents, employees and
representatives, including the supervising officers of the LOS ANGELES
Sheriffs Department, to investigate complaints of previous incidents of
wrongful shootings as other allegations of excessive force made against on-
duty deputies and, instead, officially claim that such incidents were justified
and proper.

Said customs and practices called for defendants COUNTY OF LOS
ANGELES and DOES 6 through 10 by means of inaction and coverup, to
encourage said deputies of the LOS ANGELES Sheriffs DEPARTMENT to

believe that improper shooting of persons while on duty was permissible.

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; |63. Said policies, procedures, customs and practices of defendants COUNTY OF
> LOS ANGELES and DOES 6 through 10 evidenced a deliberate indifference
3 to the violations of the constitutional rights of Rashawn Brown. This
4 indifference was manifested by the failure to change, correct, revoke, or
5 rescind said customs and practices in light of prior knowledge by defendants
6 and their policymakers of indistinguishably similar incidents of unjustified
7 and unreasonable Sheriffs shootings by deputies.
g 64. Other systemic deficiencies which indicated, and continue to indicate, a
9 deliberate indifference to the violations of the civil rights by the deputies of
10 the LOS ANGELES Sheriffs Department include;
11 a. preparation of investigative reports designed to vindicate the
10 use of firearms, regardless of whether such use was justified,
13 b. preparation of investigative reports which uncritically rely
14 solely on the word of Sheriffs deputies involved in the shooting
15 incidents and which systematically fail to credit testimony by non-
16 Sheriffs witnesses,
7 C. preparation of investigative reports which omit factual
18 information and physical evidence which contradicts the accounts of
19 the deputies involved,
20 d. failure to review investigative reports by responsible superior
1 deputies for accuracy or completeness and by the acceptance of
09 conclusions which are unwarranted by the evidence of the shooting or
3 which contradict such evidence; and,
24 e. encouraging, accommodating, or facilitating a "code of silence"
5 among LASD deputies and supervisors, pursuant to which false
26 reports were generated and excessive and unreasonable force was
17 covered up.
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Said customs and practices of the present defendants evidenced a deliberate
indifference to the rights of the present plaintiff by the failure to change,
correct, revoke, or rescind said policies, procedures, customs and practices,
and tactic and weapons training in light of prior knowledge by said
defendants of indistinguishably similar incidents of contact with persons
resulting in serious bodily injury to such persons.

The foregoing acts, omissions, and systemic deficiencies are customs and
practices of said defendants and such caused DOE DEPUTIES to be unaware
of the rules and laws governing permissible use of firearms while on duty
and off duty and to believe that firearms discharges are entirely within the
discretion of the deputies and that improper discharges would not be
honestly and properly investigated, all with the foreseeable result that
defendants' deputies would use deadly force in situations where such force is
neither necessary, reasonable nor legal, thereby violating the civil rights of
the citizens of this state.

As a result of the aforementioned acts, omissions, systematic deficiencies,
customs and practices of defendants COUNTY OF LOS ANGELES and
DOES 6 through 10 and their Sheriffs Department, DOE DEPUTIES, shot
Rashawn Brown without justification and in violation of his civil rights.

As a direct and proximate result of the aforementioned customs and practices
of defendant defendants COUNTY OF LOS ANGELES and DOES 6
through 10, Rashawn Brown suffered gunshot wounds to his body which
caused serious and permanent injuries to his body, and which eventually
deprived him of his life.

Accordingly, Defendants COUNTY and DOES 6-10 each are liable to
Plaintiff for compensatory damages under 42 U.S.C. $1983.

Plaintiff seeks both wrongful death damages and survival damages under this

claim.

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Plaintiff also seeks attorney fees under this claim.
X.
SIXTH COUNT/CAUSE OF ACTION
False Arrest/False Imprisonment
(Against All Defendants)
Plaintiff repeats and realleges each and every of the foregoing allegations
above as though fully set forth herein.
Defendants DOE DEPUTIES, while working as sheriff’s deputies for the
LASD and acting within the course and scope of their duties, intentionally
deprived DECEDENT of his freedom of movement by use of force, threats
or force, menace, fraud, deceit, and unreasonable duress. DOE DEPUTIES
detained Decedent without reasonable suspicion and arrested him wthout
probable cause.
Decedent did not knowingly or voluntarily consent.
The conduct of DOE DEPUTIES was a substantial factor in causing the
harm to Decedent.
Defendant COUNTY is vicariously liable for the wrongful acts of
Defendants DOE DEPUTIES pursuant to section 815.2(a) of the California
Government Code, which provides that a public entity is liable for the
injuries caused by its employees within the scope of the employment of the
employee’s act would subject him or her to liability.
The conduct of DOE DEPUTIES was malicious, wanton, oppressive, and
accomplished with a conscious disregard for the rights of Decedent, entitling
Plaintiff to an award of exemplary and punitive damages.
As a result of their misconduct, Defendants DOE DEPUTIES are liable for
Decedent’s injuries, either because they were integral participants in the

wrongful detention and arrest, or because they failed to intervene to prevent

these violations.

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Plaintiff D.A.B. brings this claim in each case as a successor-in-interest to
Decedent, and seeks both survival and wrongful death damages for the
violation of Decedent’s rights.
Plaintiff also seeks attorney fees under this claim.
XI.
SEVENTH COUNT/CAUSE OF ACTION
Battery - Wrongful Death
[As to DOE DEPUTIES, and Defendant County of Los Angeles)
Plaintiff repeats and realleges each and every of the foregoing allegations
above as though fully set forth herein.
Plaintiff is the legal heir and successor in interest of Rashawn Brown,
deceased, and the present action is brought by them as the legal heir and
successor in interest of Rashawn Brown as permitted by Sections 377.30 et
seq. of the California Code of Civil Procedure.
At that time and place herein above alleged, DOE DEPUTIES, without just
and legal cause, drew their service firearms and fired them at the present
Rashawn Brown, striking him in the body and killing him.
Said harmful and offensive contact, i.e., the shooting, was intentionally
committed by said defendant and was willful, wanton, malicious and
oppressive thereby justifying the awarding of exemplary and punitive
damages as to each of these individual defendants.
As a proximate result of the acts of said defendants, Rashawn Brown was
killed.
The conduct of DOE DEPUTIES, inclusive was willful, wanton, malicious,
and done with reckless disregard for the rights and safety of Rashawn Brown

and therefore warrants the imposition of exemplary and punitive damages as
to defendants DOE DEPUTIES.

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Plaintiff D.A.B. brings this claim as successor-in-interest to Decedent, and
seeks both survival and wrongful death damages for the violation of
Decedent’s rights.
Plaintiff claims funeral and burial expenses and a loss of financial support.
Plaintiff also seeks attorney fees under this claim.
XII.
EIGHTH COUNT/CAUSE OF ACTIONN
NEGLIGENCE -WRONGFUL DEATH
(As to All Defendants)
Plaintiff repeats and realleges each and every of the foregoing allegations
above as though fully set forth herein. |
Defendants DOE DEPUTIES, while working as deputies of the Los Angeles
County Sheriff's Department, and acting within the course and scope of their
duties, intentionally and/or without due care shot and killed Rashawn Brown.
As a result, Rashawn Brown suffered serious injuries, and ultimately died.
Said defendants had no legal justification for this shooting, and said
defendants’ use of force against Rashawn Brown was an unreasonable use of
force.
As a direct and proximate result of said defendants’ conduct as alleged
above, Rashawn Brown died. Plaintiff has been deprived of the life-long
comfort, support, society and care of Rashawn Brown, and will continue to
be so deprived for the remainder of their natural lives. Plaintiff also was
forced to pay funeral and burial expenses as a result of the conduct of the
deputy defendants.
Defendant County of Los Angeles is vicariously liable for the wrongful acts
of the deputy defendants pursuant to section 815.2 of the California
Government Code, which provides that a public entity is liable for the

injuries caused by its employees within the scope of the employment if the

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employee’s act would subject him or her to liability.

Defendant DOE DEPUTIES’ conduct was malicious, wanton, oppressive,
and accomplished with a conscious disregard for the rights of Rashawn
Brown, entitling plaintiff, individually and as successor-in-interest to
Rashawn Brown, decedent, to an award of exemplary and punitive damages
as to the shooting deputies.

Defendant COUNTY OF LOS ANGELES is directly liable and responsible
for the acts of the defendant deputies because defendant COUNTY OF LOS
ANGELES and its Sheriffs Department repeatedly and knowingly and
negligently failed to enforce the laws of the State of California and the
regulations of said defendant COUNTY OF LOS ANGELES and its Sheriffs
Department thereby creating within the Los Angeles Sheriffs department an
atmosphere of lawlessness in which LOS ANGELES Sheriffs deputies
employ excessive and illegal force and violence including deadly force, in
the belief that such acts will be condoned and justified by their supervisors,
and said defendant COUNTY OF LOS ANGELES therefore was or should
have been aware of such unlawful acts and practices prior to and at the time
of the shooting of Rashawn Brown.

As a proximate result of the acts and omissions of all these defendants, and

each of them, Rashawn Brown was shot and killed as alleged herein above.

Defendants DOE DEPUTIES received inadequate training from the Los

Angeles County Sheriff's Department in the proper use of firearms and
tactics. As a direct and proximate result of this failure to provide adequate
firearms and tactics training to said deputy defendants, the shooting of
Rashawn Brown occurred, causing the present plaintiff the losses and
injuries herein complained of.

At no time, either prior to the employment of said deputy defendants, or to

their assignment to duties whereby it was foreseeable that said defendant

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would be required to use his firearms, did defendant COUNTY OF LOS
ANGELES take reasonable steps to ascertain whether said deputies were
psychologically capable of performing such Sheriffs duties and did not have
propensity toward violence or toward over-reaction to situations they were
likely to encounter, or to administer standard tests to ascertain whether the
personality of said defendant was consistent with the duties to be performed.
As a direct and proximate result of this failure to use due caution and care in
the selection, training, and retention of defendant deputies, the shooting of
Rashawn Brown occurred, causing the present plaintiffs the losses and
injuries herein complained of herein.

The COUNTY OF LOS ANGELES also negligently hired and retained said
deputy defendants and those Sheriffs investigators who participated in the
investigation of said shooting, when it was known or should have been
known by the COUNTY OF LOS ANGELES that these deputies had on
prior occasions used excessive force and that these defendant deputies and
the investigators involved had participated in the concealment and cover-up
of misconduct on prior occasions.

At the time of the shooting of Rashawn Brown by said deputy defendants,
defendants COUNTY OF LOS ANGELES and DOES 6 through 10
negligently and carelessly had in place, and had ratified, policies,
procedures, customs and practices which permitted and encouraged their
Sheriffs deputies while on duty and while off duty to shoot persons
unjustifiably, unreasonably and in violation of their civil rights.

Said policies, procedures, customs and practices also called for defendants
COUNTY OF LOS ANGELES and DOES 6 through 10 not to discipline,
prosecute or in any way deal with or respond to known incidents, complaints,

of wrongful shootings by said deputies of the COUNTY OF LOS ANGELES

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Sheriffs Department, or the related claims and lawsuits made as a result of
such shootings.
Said policies, procedures, customs and practices called for the refusal of
defendants COUNTY OF LOS ANGELES and DOES 6 through 10, and
their agents, employees and representatives, including the supervising
officers of the LOS ANGELES Sheriffs Department, to investigate
complaints of previous incidents of wrongful shootings as other allegations
of excessive force made against on-duty deputies and, instead, officially
claim that such incidents were justified and proper.
Said policies, procedures, customs and practices called for defendants
COUNTY OF LOS ANGELES and DOES 6 through 10 by means of
inaction and coverup, to encourage said deputies of the LOS ANGELES
SHERIFF’S DEPARTMENT to believe that improper shooting of persons
while on duty or off-duty was permissible.
Said defendants negligently and carelessly maintained an inadequate system
of firearms discharges which failed to identify instances of improper use of
firearms, as well as defendants' failure to more closely supervise or retrain
deputies who in fact improperly used such weapons by on-duty and off-duty
deputies.
Other systemic deficiencies which indicated, and continue to indicate, a
careless disregard by defendants COUNTY OF LOS ANGELES and DOES
6 through 10 to the violations of the civil rights by the deputies of the LOS
ANGELES Sheriffs Department include;
a. preparation of investigative reports designed to vindicate the
use of firearms, regardless of whether such use was justified,
b. preparation of investigative reports which uncritically rely
solely on the word of Sheriffs deputies involved in the shooting

incidents and which

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systematically fail to credit testimony by non-Sheriffs witnesses,

c. preparation of investigative reports which omit factual

information and physical evidence which contradicts the accounts of

the deputies involved,

d. issuance of public statements exonerating deputies involved in

such incidents prior to the completion of investigations of the

shootings, and

e. failure to review investigative reports by responsible superior

deputies for accuracy or completeness and by the acceptance of

conclusions which are unwarranted by the evidence of the shooting or

which contradict such evidence.
Said negligent policies, procedures, customs and practices of defendants
COUNTY OF LOS ANGELES and DOES 6 through 10 evidenced a
deliberate indifference to the unnecessary shooting of persons such as
Rashawn Brown by the failure to change, correct, revoke, or rescind said
policies, procedures, customs and practices, and tactic and weapons training
in light of prior knowledge by said defendants of indistinguishably similar
incidents of contact with persons who are mentally or emotionally unstable,
emotionally distraught and otherwise psychologically incapacitated where
tactics and firearms use caused death or serious bodily injury to such
persons.
The foregoing acts, omissions, and systemic deficiencies are policies and
customs of said defendants and such caused the defendant deputies to be
unaware of the rules and laws governing permissible use of firearms while
on duty and off duty and to believe that firearms discharges are entirely
within the discretion of the officer and that improper discharges would not
be honestly and properly investigated, all with the foreseeable result that

defendants' deputies would use deadly force in situations where such force is

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neither necessary, reasonable nor legal, thereby violating the civil rights of
the citizens of this state.

107. Asa result of the aforementioned negligent and intentional acts, omissions,
systematic deficiencies, policies, procedures, customs and practices of
defendants COUNTY OF LOS ANGELES and DOES 6 through 10 and their
Sheriffs Department, the present defendant deputies, shot decedent Rashawn
Brown without justification, thereby killing him.

108. Asa further result of the aforementioned negligent and intentional acts,
omissions, systematic deficiencies, policies, procedures, customs and
practices of defendants COUNTY OF LOS ANGELES, and Defendants
DOE DEPUTIES and DOES 6 through 10 the present plaintiff has lost the

love, affection, society and support of Rashawn Brown.

XII.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests entry of judgment in their favor and
against Defendants as follows: |
A. For compensatory damages, including both survival damages and

wrongful death damages under federal and state law, in the amount to

be proven at trial;

B. _ For loss of financial support;

C. For punitive damages against the individual defendants in an amount
to be proven at trial;

D. _ For pre-judgement interest;
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Respectfully Submitted,

Dated: July 2, 2014

 

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E. For reasonable costs of this suit and attorneys’ fees, including pursuant
to 42 U.S.C. § 1988; and;

F, For such further other relief as the Court may deem just, proper, and
appropriate.

  

CASILIAS, f ) jp ASSOCIATES
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ARNDEDO CASILLAS

ATTORNEY FOR PEAINTIFF ;
D.A.B, by and through his Guardian ad Litem
TIFFANY SNELL

 

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DEMAND FOR JURY TRIAL
Comes now Plaintiff D.A.B., a minor, by and through his Guardian Ad

Litem, Tiffany Snell, and hereby demands a trial by jury.

Respectfully Submitted,

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Dated: July 2, 2014 cass yipR
By 4. /

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ARNOLDO C

SIL LAS
ATTORNEY FOR PUAINTIFF
D.A.B., by and throu&h his Guardian ad Litem
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